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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

NANCY E. LEWEN                                :      Civil Action No. 1:17-cv-148 SBP
Plaintiff,                                    :      Judge Susan Paradise Baxter
                                              :
v.                                            :
                                              :
BARBARA RAYMOND                               :
Defendant.                                    :


                  DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
        AND NOW, comes Defendant, through her counsel, Anna Zalewski, Deputy Attorney

General, and Karen M. Romano, Chief Deputy Attorney General, Litigation Section, and

respectfully submit Defendant’s Motion for Summary Judgment on all claims asserted by

Plaintiff in this matter.

     1. Plaintiff initiated this pro se First Amendment action by filing a Complaint on June 8,

        2017 [ECF No. 4]. Plaintiff subsequently filed an Amended Complaint [ECF. No. 25]

        and a Second Amended Complaint [ECF. No. 31]; the latter of which is the operative

        Complaint in this case.

     2. Plaintiff was employed as a Licensed Practical Nurse at Pennsylvania Soliders’ and

        Sailors’ Home.

     3. She was terminated on March 14, 2016, for violations of the Commonwealth of

        Pennsylvania and Department of Military and Veterans Affairs employee policies.

        Specifically, sexual harassment of a co-worker, and other intimidating, threatening, and

        inappropriate conduct towards her coworkers and chain of command.

     4. Despite the undisputed evidence demonstrating Plaintiff’s severe misconduct at work, she

        has sued Defendant asserting that her termination was actually for voicing concerns of

        elder abuse and neglect.
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   5. Plaintiff has produced no evidence corroborating any of her accusations.

   6.   Defendant now moves for summary judgment on all claims in this matter because there

        are no genuine issues of material fact asserted by Plaintiff.

   7. Defendant has herewith filed a Brief and a Concise Statement of Undisputed Material

        Facts with accompanying exhibits, providing reasons in support of the foregoing

        assertions with greater particularity; the contents therein are incorporated by reference.

   WHEREFORE, it is respectfully respected that summary judgment be granted in favor of

Defendant.

                                                              Respectfully Submitted,

                                                              /s/Anna Zalewski
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        Dated: June 10, 2020                                  Counsel for Defendant
